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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    MINING PROJECT WIND DOWN HOLDINGS, INC.                          )     Case No. 22-90273 (MI)
    (f/k/a Compute North Holdings, Inc.), et al.,1                   )
                                                                     )
                               Debtors.                              )     (Jointly Administered)
                                                                     )

             NOTICE OF FILING OF SECOND AMENDMENT TO PLAN SUPPLEMENT

        PLEASE TAKE NOTICE THAT on January 18, 2023, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the Plan Supplement [Docket No. 835]
(the “Plan Supplement”) in support of the Second Amended Joint Liquidating Chapter 11 Plan of
Compute North Holdings, Inc. and Its Debtor Affiliates (as may be amended, supplemented, or
modified from time to time, the “Plan”).2

       PLEASE TAKE FURTHER NOTICE THAT on January 19, 2023, the Debtors filed the
Notice of Filing of Amendment to Plan Supplement [Docket No. 843] in support of the Plan.

       PLEASE TAKE FURTHER NOTICE THAT the Debtors hereby file this Second
Amendment to the Plan Supplement (this “Amendment”) in support of the Plan. This Amendment
contains the following documents, which replace Exhibit E and Exhibit F filed with the Plan
Supplement:

             Exhibit E – Amended Plan Administrator Agreement.


1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Mining Project Wind Down Holdings Inc. (f/k/a Compute North Holdings, Inc.) (4534);
       Mining Project Wind Down LLC (f/k/a Compute North LLC) (7185); Mining Project Wind Down Corpus
       Christi LLC (f/k/a CN Corpus Christi LLC) (5551); Mining Project Wind Down Atoka LLC (f/k/a CN Atoka
       LLC) (4384); Mining Project Wind Down BS LLC (f/k/a CN Big Spring LLC) (4397); Mining Project Wind
       Down Colorado Bend LLC (f/k/a CN Colorado Bend LLC) (4610); Mining Project Wind Down Developments
       LLC (f/k/a CN Developments LLC) (2570); Mining Project Wind Down Equipment LLC (f/k/a CN Equipment
       LLC) (6885); Mining Project Wind Down King Mountain LLC (f/k/a CN King Mountain LLC) (7190); Mining
       Project Wind Down MDN LLC (f/k/a CN Minden LLC) (3722); Mining Project Wind Down Mining LLC (f/k/a
       CN Mining LLC) (5223); Mining Project Wind Down Pledgor LLC (f/k/a CN Pledgor LLC) (9871); Mining
       Project Wind Down Member LLC (f/k/a Compute North Member LLC) (8639); Mining Project Wind Down
       NC08 LLC (f/k/a Compute North NC08 LLC) (8069); Mining Project Wind Down NY09 LLC (f/k/a Compute
       North NY09 LLC) (5453); Mining Project Wind Down STHDAK LLC (f/k/a Compute North SD, LLC) (1501);
       Mining Project Wind Down Texas LLC (f/k/a Compute North Texas LLC) (1883); Mining Project Wind Down
       TX06 LLC (f/k/a Compute North TX06 LLC) (5921); and Mining Project Wind Down TX10 LLC (f/k/a
       Compute North TX10 LLC) (4238). The Debtors’ service address for the purposes of these chapter 11 cases is
       300 North LaSalle, Suite 1420, Chicago, IL 60654.
2
       Capitalized terms not otherwise defined herein shall have the same meaning as set forth in the Plan.
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       Exhibit F – Amended Litigation Trust Agreement.

      PLEASE TAKE FURTHER NOTICE THAT a blacklined versions of the Amended
Plan Administrator Agreement and the Amended Litigation Trust Agreement, showing the
changes thereto from the previously filed versions, are annexed hereto as Exhibit E-1 and Exhibit
F-1.

       PLEASE TAKE FURTHER NOTICE THAT as set forth in the Plan and the Disclosure
Statement Order, the Debtors retain the right to alter, amend, modify, or supplement the documents
contained in the Plan Supplement up to the Effective Date as set forth in the Plan.

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Dated: March 30, 2023
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